      Case 10-60990-wlh            Doc 97      Filed 08/24/21 Entered 08/24/21 11:00:51                    Desc Main
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                                        UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF GEORGIA
                                                ATLANTA DIVISION


    In re: WILBANKS, BOBBY MANALCUS                            §    Case No. 10-60990-WLH
           WILBANKS, KIMBERLY ANN                              §
                                                               §
                                                               §
                                Debtor(s)


                                            TRUSTEE'S FINAL REPORT (TFR)

           The undersigned trustee hereby makes this Final Report and states as follows:

          1. A petition under Chapter 7 of the United States Bankruptcy Code was filed on 01/12/2010. The
    undersigned trustee was appointed on 06/26/2018.
           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

           3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor as
    exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to 11 U.S.C. § 554.
    An individual estate property record and report showing the disposition of all property of the estate is attached
    as Exhibit A.

           4. The trustee realized the gross receipts of               $          94,371.71
                            Funds were disbursed in the following amounts:

                            Payments made under an
                             interim distribution                                  12,161.16
                            Administrative expenses                                39,604.01
                            Bank service fees                                         450.19
                            Other payments to creditors                                 0.00
                            Non-estate funds paid to 3rd Parties                        0.00
                            Exemptions paid to the debtor                          11,500.00
                            Other payments to the debtor                                 0.00
                            Leaving a balance on hand of1              $           30,656.35
    The remaining funds are available for distribution.

   1The  balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to
   disbursement will be distributed pro rata to creditors within each priority category. The trustee may receive additional
   compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on account of the disbursement
   of the additional interest.




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           5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.

           6. The deadline for filing non-governmental claims in this case was 01/17/2019 and the deadline for filing
    governmental claims was 01/17/2019. All claims of each class which will receive a distribution have been
    examined and any objections to the allowance of claims have been resolved. If applicable, a claims analysis,
    explaining why payment on any claim is not being made, is attached as Exhibit C.


           7. The Trustee's proposed distribution is attached as Exhibit D.
           8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is $7,393.59. To
    the extent that additional interest is earned before case closing, the maximum compensation may increase.


            The trustee has received $2,187.17 as interim compensation and now requests the sum of $5,206.42, for
    a total compensation of $7,393.592. In addition, the trustee received reimbursement for reasonable and
    necessary expenses in the amount of $117.73 and now requests reimbursement for expenses of $57.39 for
    total expenses of $175.122.

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
    and correct.




    Date: 08/02/2021                                     By: /s/ S. Gregory Hays
                                                                         Trustee




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. §1320.4(a)(2) applies.




          2If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the

    amounts listed in the Trustee's Proposed Distribution (Exhibit D)



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                                                              Form 1
                                                                                                                                                         Exhibit A
                                          Individual Estate Property Record and Report                                                                   Page: 1

                                                           Asset Cases
Case No.: 10-60990-WLH                                                                          Trustee Name:      (300320) S. Gregory Hays
Case Name:    WILBANKS, BOBBY MANALCUS                                                          Date Filed (f) or Converted (c): 01/12/2010 (f)
              WILBANKS, KIMBERLY ANN
                                                                                                § 341(a) Meeting Date:       02/08/2010
For Period Ending:        08/02/2021                                                            Claims Bar Date:      01/17/2019

                                      1                                 2                      3                      4                    5                  6

                           Asset Description                         Petition/         Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)           Unscheduled        (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                      Values                 Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                                     Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                                and Other Costs)

    1       943 Lake Stone Lea Drive, Oxford, GA                     500,000.00                         0.00         OA                        0.00                        FA
            5000 sq ft single
            Abandoned per §554(c) on 9/6/13 when case originally
            closed.

    2       4 televisions, furniture: living room and 3                 5,200.00                        0.00         OA                        0.00                        FA
            bedrooms, kitchen, dining
            Abandoned per §554(c) on 9/6/13 when case originally
            closed.

    3       500 cds, pictures and books                                     500.00                      0.00         OA                        0.00                        FA
            Abandoned per §554(c) on 9/6/13 when case originally
            closed.

    4       Clothing for the family                                     1,000.00                        0.00         OA                        0.00                        FA
            Abandoned per §554(c) on 9/6/13 when case originally
            closed.

   5*       2008 Tax Refund                                           11,618.00                     4,143.00         OA                        0.00                        FA
            Abandoned per §554(c) on 9/6/13 when case originally
            closed. (See Footnote)

    6       2005 Ford Expedition XLJ Mileage:                           9,225.00                        0.00         OA                        0.00                        FA
            83000 miles
            Abandoned per §554(c) on 9/6/13 when case originally
            closed.

    7       2002 Sandpiper 38 foot pull-behind travel                 17,835.00                     2,823.00         OA                        0.00                        FA
            trailer
            Abandoned per §554(c) on 9/6/13 when case originally
            closed.

    8       Preferential payment to roofer (u)                        14,370.79                    14,370.79                              14,370.79                        FA

   9*       Claim for Ethicon Pelvic Mesh (u)                         80,000.00                    30,732.84                              80,000.00                        FA
            6/17/21 - Exemption resolved to $11,500 and paid.
            (See Footnote)

   10*      Claim for Ethicon Pelvic Mesh (u) (See                    13,000.00                     3,000.00                                   0.00                        FA
            Footnote)

   INT      INTEREST (u)                                               Unknown                           N/A                                   0.92                        FA

   11       Assets Totals (Excluding unknown values)                $652,748.79                 $55,069.63                             $94,371.71                    $0.00


        RE PROP# 5            Debtors used tax refund to pay roofer (preferentially). Debtors paid estate $500.00 per month pursuant to a compromise and
                              settlement.
        RE PROP# 9            Trustee filed an objection to Debtor's exemption (Dkt # 64) which has been resolved and paid. Settlement of claim approved
                              per Order, Dkt # 86. Payment received.
        RE PROP# 10           Debtor received a net payment of $2,870.47 after attorney fees & expenses from the $13,000 settlement. Trustee will
                              resolve payment with exemption resolutions.




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                                                                                                                                    Exhibit A
                                    Individual Estate Property Record and Report                                                    Page: 2

                                                     Asset Cases
Case No.: 10-60990-WLH                                                         Trustee Name:      (300320) S. Gregory Hays
Case Name:    WILBANKS, BOBBY MANALCUS                                         Date Filed (f) or Converted (c): 01/12/2010 (f)
              WILBANKS, KIMBERLY ANN
                                                                               § 341(a) Meeting Date:    02/08/2010
For Period Ending:     08/02/2021                                              Claims Bar Date:     01/17/2019



 Major Activities Affecting Case Closing:

                            9/6/2013 - This case was originally filed as a Chapter 7 case on 1/12/10. Barbara Stalzer was appointed the
                            Chapter 7 Trustee. Ms. Stalzer administered the assets of the bankruptcy estate, made a distribution to
                            unsecured creditor and the case closed on 9/6/13.

                            June 2018 - The Settlement Alliance notified the United States Trustee that Ms. Wilbanks is entitled to one or
                            two monetary awards on account of a personal injury claim that arose prior to the filing of the petition. The
                            case was reopened and S. Gregory Hays was appointed the successor Trustee.

                            1/10/2020 - Order approving special counsel to the Trustee for personal injury claim is entered.

                            3/2/21 - Order entered resolving Debtor's exemptions in settlement of personal injury claim.

                            6/15/21 - Medical liens against the settlement proceeds have been resolved and the settlement proceeds
                            have been distributed to the Trustee.

                            7/14/21 - The Trustee has filed the final estate tax returns and anticipates submitting his Trustee Final Report.



 Initial Projected Date Of Final Report (TFR): 10/31/2012              Current Projected Date Of Final Report (TFR):   08/31/2021


                     08/02/2021                                                    /s/S. Gregory Hays
                        Date                                                       S. Gregory Hays




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                                                              Form 2                                                                                    Exhibit B
                                                                                                                                                        Page: 1
                                              Cash Receipts And Disbursements Record
Case No.:              10-60990-WLH                                      Trustee Name:                       S. Gregory Hays (300320)
Case Name:             WILBANKS, BOBBY MANALCUS                          Bank Name:                          The Bank of New York Mellon
                       WILBANKS, KIMBERLY ANN                            Account #:                          **********0665 Checking Account
Taxpayer ID #:         **-***0748                                        Blanket Bond (per case limit):      $31,525,000.00
For Period Ending:     08/02/2021                                        Separate Bond (if applicable):      N/A

    1            2                      3                                        4                                 5                       6                        7

  Trans.    Check or       Paid To / Received From          Description of Transaction         Uniform         Deposit               Disbursement         Account Balance
   Date      Ref. #                                                                           Tran. Code         $                         $

 06/23/10     {8}      Bobby M. Wilbanks                Acct #1; Payment #0; Per               1241-000                1,000.00                                         1,000.00
                                                        agreement with Debtor to repay
                                                        money to roofer paid preferentially
 07/22/10     {8}      Bobby and Kimberly Wilbanks      Installment payment for                1241-000                 500.00                                          1,500.00
                                                        preferential payment to roofer
 07/30/10              The Bank of New York Mellon      Interest posting at 0.0700%            1270-000                   0.07                                          1,500.07
 08/19/10     {8}      Bobby and Kimberly Wilbanks      Acct #1; Payment #1; Installment       1241-000                 500.00                                          2,000.07
                                                        payment for preference payment to
                                                        roofer
 08/31/10              The Bank of New York Mellon      Interest posting at 0.0700%            1270-000                   0.09                                          2,000.16
 09/22/10     {8}      Bobby M. and Kimberly wilbanks   Acct #1; Payment #2; Installment       1241-000                 500.00                                          2,500.16
                                                        per agreement with Debtor
 09/30/10              The Bank of New York Mellon      Interest posting at 0.0100%            1270-000                   0.01                                          2,500.17
 10/20/10     {8}      Kimberly Wilbanks                Acct #1; Payment #3; Installment       1241-000                 500.00                                          3,000.17
                                                        payment on preference payment to
                                                        roofer per agreement
 10/29/10              The Bank of New York Mellon      Interest posting at 0.0100%            1270-000                   0.02                                          3,000.19
 11/22/10     {8}      Kimberly A. Wilbanks             Acct #1; Payment #4; Monthly           1241-000                 500.00                                          3,500.19
                                                        Installment payment per
                                                        agreement and court order
 11/30/10              The Bank of New York Mellon      Interest posting at 0.0100%            1270-000                   0.02                                          3,500.21
 12/17/10     {8}      Bobby M. wilbanks                Acct #1; Payment #5; Installment       1241-000                 500.00                                          4,000.21
                                                        payment on preferential transfer to
                                                        roofing co.
 12/31/10              The Bank of New York Mellon      Interest posting at 0.0100%            1270-000                   0.02                                          4,000.23
 01/21/11     {8}      Kimberly Wilbanks                Acct #1; Payment #6; Installment       1241-000                 500.00                                          4,500.23
                                                        payment on preference to roofer
 01/31/11              The Bank of New York Mellon      Interest posting at 0.0100%            1270-000                   0.02                                          4,500.25
 02/24/11     {8}      Kimberly A. Wilbanks             Acct #1; Payment #7; Monthly           1241-000                 500.00                                          5,000.25
                                                        installment for money paid
                                                        preferentially to roofer
 02/28/11              The Bank of New York Mellon      Interest posting at 0.0100%            1270-000                   0.03                                          5,000.28
 03/23/11     {8}      Kimberly Wilbanks                Acct #1; Payment #8; Montly            1241-000                 500.00                                          5,500.28
                                                        installment on preference to roofer
 03/31/11              The Bank of New York Mellon      Interest posting at 0.0100%            1270-000                   0.04                                          5,500.32
 04/21/11     {8}      Bobby Wilbanks                   Acct #1; Payment #9; INstallment       1241-000                 500.00                                          6,000.32
                                                        payment on preference to roofer
 04/29/11              The Bank of New York Mellon      Interest posting at 0.0100%            1270-000                   0.04                                          6,000.36
 05/20/11     {8}      Kimberly Wilbanks                Acct #1; Payment #10; Monthly          1241-000                 500.00                                          6,500.36
                                                        installment on roofer preference
                                                        payment
 05/31/11              The Bank of New York Mellon      Interest posting at 0.0100%            1270-000                   0.05                                          6,500.41
 06/20/11     {8}      Kimberly A. Wilbanks             Acct #1; Payment #11; Monthly          1241-000                 500.00                                          7,000.41
                                                        installmentn on preference
                                                        payment to roofer
 06/30/11              The Bank of New York Mellon      Interest posting at 0.0100%            1270-000                   0.05                                          7,000.46
 07/18/11     {8}      Kimberly Wilbanks                Acct #1; Payment #12; Monthly          1241-000                 500.00                                          7,500.46
                                                        installment on preference payment
                                                        to roofer
 07/29/11              The Bank of New York Mellon      Interest posting at 0.0100%            1270-000                   0.06                                          7,500.52
 08/01/11              The Bank of New York Mellon      Bank and Technology Services           2600-000                                         13.77                   7,486.75
                                                        Fee


                                                                                           Page Subtotals:         $7,500.52                   $13.77


{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                       ! - transaction has not been cleared
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                                             Cash Receipts And Disbursements Record
Case No.:              10-60990-WLH                                      Trustee Name:                       S. Gregory Hays (300320)
Case Name:             WILBANKS, BOBBY MANALCUS                          Bank Name:                          The Bank of New York Mellon
                       WILBANKS, KIMBERLY ANN                            Account #:                          **********0665 Checking Account
Taxpayer ID #:         **-***0748                                        Blanket Bond (per case limit):      $31,525,000.00
For Period Ending:     08/02/2021                                        Separate Bond (if applicable):      N/A

    1            2                      3                                        4                                 5                     6                       7

  Trans.    Check or       Paid To / Received From          Description of Transaction         Uniform         Deposit             Disbursement        Account Balance
   Date      Ref. #                                                                           Tran. Code         $                       $

 08/17/11     {8}      Kimberly Wilbanks                Acct #1; Payment #13; Installment      1241-000                500.00                                         7,986.75
                                                        payment on preference to roofer
 08/31/11              The Bank of New York Mellon      Interest posting at 0.0100%            1270-000                  0.06                                         7,986.81
 08/31/11              The Bank of New York Mellon      Bank and Technology Services           2600-000                                      25.00                    7,961.81
                                                        Fee
 09/15/11     {8}      Kimberly Wilbanks                Acct #1; Payment #14; Monthly          1241-000                500.00                                         8,461.81
                                                        installment payment
 09/30/11              The Bank of New York Mellon      Interest posting at 0.0100%            1270-000                  0.06                                         8,461.87
 09/30/11              The Bank of New York Mellon      Bank and Technology Services           2600-000                                      25.00                    8,436.87
                                                        Fee
 10/17/11     {8}      Kimberly Wilbanks                Acct #1; Payment #15; Installment      1241-000                500.00                                         8,936.87
                                                        payment for preference to roofer
 10/31/11              The Bank of New York Mellon      Interest posting at 0.0100%            1270-000                  0.06                                         8,936.93
 10/31/11              The Bank of New York Mellon      Bank and Technology Services           2600-000                                      25.00                    8,911.93
                                                        Fee
 11/21/11     {8}      Kimberly Wilbanks                Acct #1; Payment #16; Monthly          1241-000                500.00                                         9,411.93
                                                        installment on preference to roofer
 11/30/11              The Bank of New York Mellon      Interest posting at 0.0100%            1270-000                  0.07                                         9,412.00
 11/30/11              The Bank of New York Mellon      Bank and Technology Services           2600-000                                      25.00                    9,387.00
                                                        Fee
 12/21/11     {8}      Bobby and Kimberly Wilbanks      Acct #1; Payment #17; installment      1241-000                500.00                                         9,887.00
                                                        payment on preference to roofer
 12/30/11              The Bank of New York Mellon      Interest posting at 0.0100%            1270-000                  0.07                                         9,887.07
 12/30/11              The Bank of New York Mellon      Bank and Technology Services           2600-000                                      25.00                    9,862.07
                                                        Fee
 01/06/12     {8}      Kimberly Wilbanks                Acct #1; Payment #18; Installment      1241-000                500.00                                        10,362.07
                                                        payment on preference to roofer
                                                        paid out of tax refund
 01/17/12              The Bank of New York Mellon      Interest posting at 0.0100%            1270-000                  0.04                                        10,362.11
 01/31/12              The Bank of New York Mellon      Interest posting at 0.0100%            1270-000                  0.04                                        10,362.15
 01/31/12              The Bank of New York Mellon      Bank and Technology Services           2600-000                                      25.00                   10,337.15
                                                        Fee
 02/22/12     {8}      Bobby Wilbanks                   Acct #1; Payment #19; Montly           1241-000                500.00                                        10,837.15
                                                        installment payment to pay off
                                                        preference payment to roofer
 02/29/12              The Bank of New York Mellon      Bank and Technology Services           2600-000                                      25.00                   10,812.15
                                                        Fee
 03/09/12     {8}      Kimberly Wilbanks                Acct #1; Payment #20; Monthly          1241-000                500.00                                        11,312.15
                                                        installment to pay preference to
                                                        roofer
 03/30/12              The Bank of New York Mellon      Bank and Technology Services           2600-000                                      25.00                   11,287.15
                                                        Fee
 04/25/12     {8}      Kimberly Wilbanks                Acct #1; Payment #21; Montly           1241-000                500.00                                        11,787.15
                                                        installment to pay roofer
                                                        preference
 04/30/12              The Bank of New York Mellon      Bank and Technology Services           2600-000                                      25.00                   11,762.15
                                                        Fee
 05/31/12     {8}      Bobby M. Wilbanks                Acct #1; Payment #22; For monthly      1241-000                500.00                                        12,262.15
                                                        payment for roofer preference
 05/31/12              The Bank of New York Mellon      Bank and Technology Services           2600-000                                      26.51                   12,235.64
                                                        Fee
 06/11/12     {8}      Bobby Wilbanks                   Acct #1; Payment #23; Payment          1241-000                500.00                                        12,735.64
                                                        for preference to roofer

                                                                                           Page Subtotals:         $5,500.40             $251.51


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                                                 Cash Receipts And Disbursements Record
Case No.:              10-60990-WLH                                       Trustee Name:                     S. Gregory Hays (300320)
Case Name:             WILBANKS, BOBBY MANALCUS                           Bank Name:                        The Bank of New York Mellon
                       WILBANKS, KIMBERLY ANN                             Account #:                        **********0665 Checking Account
Taxpayer ID #:         **-***0748                                         Blanket Bond (per case limit):    $31,525,000.00
For Period Ending:     08/02/2021                                         Separate Bond (if applicable):    N/A

    1            2                      3                                         4                               5                     6                         7

  Trans.    Check or       Paid To / Received From            Description of Transaction        Uniform       Deposit             Disbursement          Account Balance
   Date      Ref. #                                                                            Tran. Code       $                       $

 06/29/12              The Bank of New York Mellon        Bank and Technology Services         2600-000                                      25.00                    12,710.64
                                                          Fee
 07/15/12     {8}      Bobby Wilbanks                     Acct #1; Payment #24; Roofer         1241-000               500.00                                          13,210.64
                                                          preference-- monthly installment
 07/31/12              The Bank of New York Mellon        Bank and Technology Services         2600-000                                      28.25                    13,182.39
                                                          Fee
 08/08/12     {8}      Kimberly Wilbanks                  Acct #1; Payment #25; Monthly        1241-000               500.00                                          13,682.39
                                                          installment on repayment of
                                                          preference to roofer
 08/31/12              The Bank of New York Mellon        Bank and Technology Services         2600-000                                      28.66                    13,653.73
                                                          Fee
 09/11/12     {8}      Bobby Wilbanks                     Acct #1; Payment #26; Payoff of      1241-000               370.79                                          14,024.52
                                                          roofer preference claim by Debtors
 09/28/12              The Bank of New York Mellon        Bank and Technology Services         2600-000                                      26.51                    13,998.01
                                                          Fee
 01/03/13              RABOBANK MIGRATION                 TRANSFER TO 0001030006088            9999-000                                 13,998.01                          0.00
                       TRANSFER OUT                       20130103

                                            COLUMN TOTALS                                                          14,371.71             14,371.71                        $0.00
                                                   Less: Bank Transfers/CDs                                             0.00             13,998.01
                                            Subtotal                                                               14,371.71                 373.70
                                                   Less: Payments to Debtors                                                                   0.00

                                            NET Receipts / Disbursements                                          $14,371.71                $373.70




{ } Asset Reference(s)       UST Form 101-7-TFR (5/1/2011)                                                                     ! - transaction has not been cleared
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                                                  Cash Receipts And Disbursements Record
Case No.:              10-60990-WLH                                      Trustee Name:                     S. Gregory Hays (300320)
Case Name:             WILBANKS, BOBBY MANALCUS                          Bank Name:                        Mechanics Bank
                       WILBANKS, KIMBERLY ANN                            Account #:                        ******1165 Checking Account
Taxpayer ID #:         **-***0748                                        Blanket Bond (per case limit):    $31,525,000.00
For Period Ending:     08/02/2021                                        Separate Bond (if applicable):    N/A

    1            2                     3                                         4                               5                      6                          7

  Trans.    Check or       Paid To / Received From           Description of Transaction        Uniform       Deposit              Disbursement           Account Balance
   Date      Ref. #                                                                           Tran. Code       $                        $

 01/04/13              RABOBANK MIGRATION                RABOBANK MIGRATION                   9999-000           13,998.01                                             13,998.01
                       TRANSFER IN
 01/08/13    11001     Barbara B. Stalzer, Trustee       Dividend paid 100.00% on             2100-000                                      2,187.17                   11,810.84
                                                         $2,187.17, Trustee Compensation;
                                                         Reference:
 01/08/13    11002     Barbara B. Stalzer, Trustee       Dividend paid 100.00% on             2200-000                                       117.73                    11,693.11
                                                         $117.73, Trustee Expenses;
                                                         Reference:
 01/08/13    11003     Stonebridge Accounting            Dividend paid 100.00% on             3410-000                                       652.00                    11,041.11
                       Strategies                        $652.00, Accountant for Trustee
                                                         Fees (Other Firm); Reference:
 01/08/13    11004     Stonebridge Accounting            Dividend paid 100.00% on $32.75,     3420-000                                        32.75                    11,008.36
                       Strategies                        Accountant for Trustee Expenses
                                                         (Other Firm); Reference:
 01/08/13    11005     Barbara B. Stalzer, Esq.          Dividend paid 100.00% on             3110-000                                       767.00                    10,241.36
                                                         $767.00, Attorney for Trustee Fees
                                                         (Trustee Firm); Reference:
 01/08/13    11006     Georgias Own Credit Union         Dividend paid 1.96% on               7100-000                                       215.25                    10,026.11
                                                         $10,974.88; Claim# 1; Filed:
                                                         $10,974.88; Reference:
 01/08/13    11007     Wells Fargo Bank, N.A.            Dividend paid 1.96% on               7100-000                                      8,546.18                    1,479.93
                                                         $435,753.49; Claim# 2; Filed:
                                                         $435,753.49; Reference:
 01/08/13    11008     BB&T-Bankruptcy                   Dividend paid 1.96% on               7100-000                                      1,188.44                     291.49
                                                         $60,596.06; Claim# 3; Filed:
                                                         $60,596.06; Reference:
 01/08/13    11009     Chase Bank USA,N.A                Dividend paid 1.96% on               7100-000                                        25.36                      266.13
                                                         $1,293.25; Claim# 4; Filed:
                                                         $1,293.25; Reference:
 01/08/13    11010     GE Money Bank                     Dividend paid 1.96% on $1,614.51;    7100-000                                        31.66                      234.47
                                                         Claim# 5; Filed: $1,614.51;
                                                         Reference:
 01/08/13    11011     Fia Card Services, NA/Bank of     Dividend paid 1.96% on               7100-000                                       234.47                         0.00
                       America                           $11,955.14; Claim# 6; Filed:
                                                         $11,955.14; Reference:

                                           COLUMN TOTALS                                                         13,998.01               13,998.01                         $0.00
                                                  Less: Bank Transfers/CDs                                       13,998.01                      0.00
                                           Subtotal                                                                     0.00             13,998.01
                                                  Less: Payments to Debtors                                                                     0.00

                                           NET Receipts / Disbursements                                                $0.00           $13,998.01




{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                    ! - transaction has not been cleared
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                                                Cash Receipts And Disbursements Record
Case No.:              10-60990-WLH                                      Trustee Name:                    S. Gregory Hays (300320)
Case Name:             WILBANKS, BOBBY MANALCUS                          Bank Name:                       Mechanics Bank
                       WILBANKS, KIMBERLY ANN                            Account #:                       ******8200 Checking
Taxpayer ID #:         **-***0748                                        Blanket Bond (per case limit):   $31,525,000.00
For Period Ending:     08/02/2021                                        Separate Bond (if applicable):   N/A

    1            2                     3                                         4                              5                      6                        7

  Trans.    Check or        Paid To / Received From          Description of Transaction      Uniform        Deposit              Disbursement         Account Balance
   Date      Ref. #                                                                         Tran. Code        $                        $

(No transactions on file for this period)

                                           COLUMN TOTALS                                                               0.00                  0.00                   $0.00
                                                  Less: Bank Transfers/CDs                                             0.00                  0.00
                                           Subtotal                                                                    0.00                  0.00
                                                  Less: Payments to Debtors                                                                  0.00

                                           NET Receipts / Disbursements                                               $0.00                 $0.00




{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                   ! - transaction has not been cleared
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                                                  Cash Receipts And Disbursements Record
Case No.:              10-60990-WLH                                       Trustee Name:                       S. Gregory Hays (300320)
Case Name:             WILBANKS, BOBBY MANALCUS                           Bank Name:                          East West Bank
                       WILBANKS, KIMBERLY ANN                             Account #:                          ******0246 Demand Deposit Account
Taxpayer ID #:         **-***0748                                         Blanket Bond (per case limit):      $31,525,000.00
For Period Ending:     08/02/2021                                         Separate Bond (if applicable):      N/A

    1            2                      3                                         4                                 5                     6                        7

  Trans.    Check or       Paid To / Received From            Description of Transaction          Uniform       Deposit             Disbursement         Account Balance
   Date      Ref. #                                                                              Tran. Code       $                       $

 06/15/21              Bertram & Graf Qualified           Product liability settlement funds                        42,232.84                                          42,232.84
                       Settlement Fund                    received per settlement Order, Dkt
                                                          # 86.
              {9}                                         Settlement funds Per Order             1242-000
                                                          Approving Settlement Of Product
                                                          Liability Claim (Dkt # 86)
                                                                                  $80,000.00
                                                          Medical Liens associated with          4220-000
                                                          Settlement of Product Liability
                                                          Claim paid per Order, (Dkt # 86)
                                                                                  -$1,919.80
                       MDL Assessment                     MDL assessment associated with         3991-000
                                                          Settlement of Product Liability
                                                          Claim paid per Order, (Dkt # 86)
                                                                                  -$4,000.00
                       Ford & Associates Nationwide       Special counsel fees paid per          3210-000
                       Legal Services, APC                Order, Dkt # 87.
                                                                                  -$9,867.58
                       Goldwater Law Firm                 Special counsel fees paid per          3210-000
                                                          Order, Dkt # 87.
                                                                                  -$6,578.39
                       Bertram & Graf, LLC                Special counsel for Trustee fees       3210-000
                                                          paid per Order, Dkt # 87.
                                                                                 -$13,455.79
                       Bertram & Graf                     Special Counsel expenses paid          3220-000
                                                          per Order, Dkt # 87.
                                                                                      -$541.52
                                                          Lien Resolution and other              3991-000
                                                          administrative fees associated with
                                                          the product liability settlement.
                                                          Paid per Order, Dkt # 86
                                                                                  -$1,404.08
 06/17/21    1000      Bobby Manalcus Wilbanks and        Payment of exemption in                8100-002                                 11,500.00                    30,732.84
                       Kimberly Ann Wilbanks              settlement funds, See order #s 83
                                                          and 91.
 06/30/21              East West Bank                     Bank and Technology Services           2600-000                                     27.28                    30,705.56
                                                          Fees
 07/30/21              East West Bank                     Bank and Technology Services           2600-000                                     49.21                    30,656.35
                                                          Fees

                                            COLUMN TOTALS                                                            42,232.84             11,576.49               $30,656.35
                                                   Less: Bank Transfers/CDs                                               0.00                  0.00
                                            Subtotal                                                                 42,232.84             11,576.49
                                                   Less: Payments to Debtors                                                               11,500.00

                                            NET Receipts / Disbursements                                            $42,232.84                $76.49




{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                      ! - transaction has not been cleared
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                                                       Form 2                                                                          Exhibit B
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                                       Cash Receipts And Disbursements Record
Case No.:           10-60990-WLH                                     Trustee Name:                     S. Gregory Hays (300320)
                    WILBANKS, BOBBY MANALCUS
Case Name:                                                           Bank Name:                        East West Bank
                    WILBANKS, KIMBERLY ANN
                                                                     Account #:                        ******0246 Demand Deposit Account
Taxpayer ID #:      **-***0748
                                                                     Blanket Bond (per case limit): $31,525,000.00
For Period Ending: 08/02/2021
                                                                     Separate Bond (if applicable): N/A


                                       Net Receipts:                  $56,604.55
                            Plus Gross Adjustments:                   $37,767.16
                           Less Payments to Debtor:                   $11,500.00
                 Less Other Noncompensable Items:                           $0.00

                                         Net Estate:                  $82,871.71




                                                                                                        NET                       ACCOUNT
                                 TOTAL - ALL ACCOUNTS                             NET DEPOSITS     DISBURSEMENTS                  BALANCES
                                 **********0665 Checking Account                        $14,371.71          $373.70                       $0.00

                                 ******1165 Checking Account                                   $0.00              $13,998.01                $0.00

                                 ******8200 Checking                                           $0.00                     $0.00              $0.00

                                 ******0246 Demand Deposit Account                      $42,232.84                      $76.49         $30,656.35

                                                                                       $56,604.55                 $14,448.20           $30,656.35




                 08/02/2021                                                  /s/S. Gregory Hays
                    Date                                                     S. Gregory Hays




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                                                          Exhibit C
                                              Analysis of Claims Register
                                Case:10-60990-WLH                      BOBBY M. WILBANKS AND KIMBERLY A.
                                                                                  Claims Bar Date: 01/17/19


 Claim                Claimant Name/                  Claim Type/                   Amount Filed/        Paid          Claim
                                                                      Claim Ref
  No.               <Category>, Priority               Date Filed                     Allowed          to Date        Balance

Exempti Kimberly Wilbanks                            Secured                             $11,500.00    $11,500.00           $0.00
on      943 Lake Stone Lea Drive
                                                     07/02/19                            $11,500.00
        Oxford, GA 30054
        <8100-000 Exemptions>
         , 100
         Ga. Code Ann. § 44-13-100(a)(11)(D)
ADM01 Barbara B. Stalzer, Trustee,                   Administrative                        $2,187.17    $2,187.17           $0.00
         <2100-000 Trustee Compensation>             11/28/12                              $2,187.17
         , 200
         Initial Trustee. Commission paid per Order, Dkt # 44.
ADM02 Barbara B. Stalzer, Trustee,                   Administrative                         $117.73      $117.73            $0.00
         <2200-000 Trustee Expenses>                 11/28/12                               $117.73
         , 200
         Initial Trustee. Expenses paid per Order, Dkt # 44.
ADM03 Barbara B. Stalzer, Esq.,                      Administrative                         $767.00      $767.00            $0.00
         <3110-000 Attorney for Trustee Fees (Trustee 11/28/12                              $767.00
         Firm)>
         , 200
         Attorney fees paid per Order, Dkt # 44.
ADM04 Stonebridge Accounting Strategies,             Administrative                         $652.00      $652.00            $0.00
         <3410-000 Accountant for Trustee Fees       11/28/12                               $652.00
         (Other Firm)>
         , 200
         Fees paid per Order, Dkt # 44.
ADM05 Stonebridge Accounting Strategies,             Administrative                          $32.75       $32.75            $0.00
         <3420-000 Accountant for Trustee Expenses 11/28/12                                  $32.75
         (Other Firm)>
         , 200
         Fees paid per Order, Dkt # 44.
ADM06 S. Gregory Hays                                Administrative                        $5,206.42          $0.00     $5,206.42
      2964 Peachtree Road, NW, Ste. 555
                                                     07/30/21                              $5,206.42
      Atlanta, GA 30305
      <2100-000 Trustee Compensation>
         , 200
         Trustee commission per Bankruptcy Code §326 based on total case distributions to others than the Debtors of
         $82,871.71 is $7,393.59. Barbara Stalzer, the initial trustee, was paid $2,187.17 leaving a commission balance of
         $5,206.42.

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                                                        Exhibit C
                                              Analysis of Claims Register
                                Case:10-60990-WLH                    BOBBY M. WILBANKS AND KIMBERLY A.
                                                                                Claims Bar Date: 01/17/19

 Claim                Claimant Name/                Claim Type/                   Amount Filed/        Paid          Claim
                                                                    Claim Ref
  No.               <Category>, Priority             Date Filed                     Allowed          to Date        Balance

ADM07 S. Gregory Hays                              Administrative                          $57.39           $0.00        $57.39
      2964 Peachtree Road NW, Ste. 555
                                                   07/02/19                                $57.39
      Atlanta, GA 30305
      <2200-000 Trustee Expenses>
         , 200

ADM08 Arnall Golden Gregory LLP                    Administrative                      $10,000.00           $0.00    $10,000.00
      Attn: Michael Bargar
                                                   07/02/19                            $10,000.00
      171 17th Street NW Ste 2100
      Atlanta, GA 30363-1031
      <3210-000 Attorney for Trustee Fees (Other
      Firm)>
      , 200

ADM09 Arnall Golden Gregory LLP                    Administrative                          $44.80           $0.00        $44.80
      Attn: Michael Bargar
                                                   07/02/19                                $44.80
      171 17th Street NW Ste 2100
      Atlanta, GA 30363-1031
      <3220-000 Attorney for Trustee Expenses
      (Other Firm) >
      , 200

ADM10 Hays Financial Consulting, LLC               Administrative                        $2,430.00          $0.00     $2,430.00
      2964 Peachtree Rd NW
                                                   07/02/19                              $2,430.00
      Ste 555
      Atlanta, GA 30305
      <3310-000 Accountant for Trustee Fees
      (Trustee Firm)>
      , 200

ADM11 Hays Financial Consulting, LLC            Administrative                             $85.20           $0.00        $85.20
      2964 Peachtree Rd NW
                                                07/02/19                                   $85.20
      Ste 555
      Atlanta, GA 30305
      <3320-000 Accountant for Trustee Expenses
      (Trustee Firm)>
      , 200

ADM12 Clerk, United States Bankruptcy Court        Administrative                         $260.00           $0.00       $260.00
      1340 Russell Federal Building
                                                   07/02/19                               $260.00
      75 Ted Turner Drive, SW
      Atlanta, GA 30303
      <2700-000 Clerk of the Court Fees>
         , 200
         Per Order (Dkt # 94). See also deferred filing fee per motion, Dkt # 53.



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                                                         Exhibit C
                                                Analysis of Claims Register
                                Case:10-60990-WLH                    BOBBY M. WILBANKS AND KIMBERLY A.
                                                                                Claims Bar Date: 01/17/19

 Claim                 Claimant Name/                 Claim Type/                 Amount Filed/        Paid       Claim
                                                                    Claim Ref
  No.                <Category>, Priority              Date Filed                   Allowed          to Date     Balance

1        Georgia's Own Credit Union                  Unsecured                         $10,974.88      $215.25     $10,759.63
         P.O. Box 105205
                                                     06/30/10                          $10,974.88
         Atlanta, GA 30348
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

2        Wells Fargo Bank, N.A.                      Unsecured                        $435,753.49    $8,546.18   $427,207.31
         c/o SGR, LLP Attn: John T. Vian, Esq.
                                                     07/13/10                         $435,753.49
         1230 Peachtree Street, N.E., Suite 3100
         Atlanta, GA 30309
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

3        BB&T-Bankruptcy                             Unsecured                         $60,596.06    $1,188.44     $59,407.62
         100-50-01-51
                                                     08/11/10                          $60,596.06
         PO Box 1847
         Wilson, NC 27894-1847
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

4        Chase Bank USA,N.A                          Unsecured                           $1,293.25      $25.36      $1,267.89
         c/o Creditors Bankruptcy Service
                                                     08/12/10                            $1,293.25
         P O Box 740933
         Dallas, TX 75374
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

5        Midland Funding LLC                         Unsecured                           $1,614.51      $31.66      $1,582.85
         By its authorized agent Recoser, LLC
                                                     08/24/10                            $1,614.51
         25 SE 2nd Ave, Suite 1120
         Miami, FL 33131-1605
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

6        Fia Card Services, NA/Bank of America       Unsecured                         $11,955.14      $234.47     $11,720.67
         by American Infosource Lp As Its Agent
                                                     09/22/10                          $11,955.14
         PO Box 248809
         Oklahoma City, OK 73124-8809
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610




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                                                                       Exhibit C
                                                       Analysis of Claims Register
                                      Case:10-60990-WLH                                BOBBY M. WILBANKS AND KIMBERLY A.
                                                                                                   Claims Bar Date: 01/17/19

 Claim                    Claimant Name/                          Claim Type/                         Amount Filed/               Paid              Claim
                                                                                    Claim Ref
  No.                   <Category>, Priority                       Date Filed                           Allowed                 to Date            Balance

7        BB&T-Bankruptcy                                        Unsecured                                          $37.29              $0.00               $37.29
         100-50-01-51
                                                                10/29/18                                           $37.29
         PO Box 1847
         Wilson, NC 27894-1847
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

8        Capital One, N.A.                                      Unsecured                                            $0.00             $0.00                $0.00
         c/o Becket and Lee LLP
                                                                01/17/19                                             $0.00
         PO Box 3001
         Malvern, PA 19355-0701
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610
         Doc. #81 | 03/01/2021 | Withdrawal of Claim No. 8 filed by Capital One, N.A.. (Becket & Lee, LLP)
         ------------------------------------------------------------------------------------------------------------------------------------------------------
         Joint debt. Filed as $1,267.89 unsecured claims. Duplicates POC # 4.
         2/26/21 - Email sent to Beckett & Lee to withdraw or amend.
                                                                                                             Case Total:         $25,498.01         $530,067.07




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                                     TRUSTEE'S PROPOSED DISTRIBUTION
                                                                                                               Exhibit D


    Case No.: 10-60990-WLH
    Case Name: BOBBY M. WILBANKS AND KIMBERLY A. WILBANKS
    Trustee Name: S. Gregory Hays

                                                         Balance on hand:     $                             30,656.35

           Claims of secured creditors will be paid as follows:

  Claim      Claimant                                           Claim       Allowed            Interim         Proposed
  No.                                                        Asserted       Amount           Payments           Payment
                                                                            of Claim           to Date


                                                           None


                                                    Total to be paid to secured creditors:       $                  0.00
                                                    Remaining balance:                           $             30,656.35

           Applications for chapter 7 fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                            Total            Interim         Proposed
                                                                          Requested          Payments           Payment
                                                                                               to Date

  Trustee, Fees - S. Gregory Hays                                            5,206.42                0.00       5,206.42
  Attorney for Trustee Fees - Barbara B. Stalzer, Esq.                         767.00           767.00              0.00
  Accountant for Trustee, Fees - Hays Financial Consulting, LLC              2,430.00                0.00       2,430.00
  Accountant for Trustee, Expenses - Hays Financial Consulting, LLC               85.20              0.00          85.20
  Charges, U.S. Bankruptcy Court                                               260.00                0.00         260.00
  Trustee, Fees - Barbara B. Stalzer, Trustee                                2,187.17         2,187.17              0.00
  Trustee, Expenses - S. Gregory Hays                                             57.39              0.00          57.39
  Trustee, Expenses - Barbara B. Stalzer, Trustee                              117.73           117.73              0.00
  Attorney for Trustee Fees (Other Firm) - Arnall Golden Gregory LLP        10,000.00                0.00      10,000.00
  Attorney for Trustee Expenses (Other Firm) - Arnall Golden Gregory              44.80              0.00          44.80
  LLP
  Accountant for Trustee Fees (Other Firm) - Stonebridge Accounting            652.00           652.00              0.00
  Strategies
  Accountant for Trustee Expenses (Other Firm) - Stonebridge                      32.75          32.75              0.00
  Accounting Strategies
                        Total to be paid for chapter 7 administrative expenses:                  $             18,083.81
                        Remaining balance:                                                       $             12,572.54




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            Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                      Total         Interim       Proposed
                                                                        Requested     Payments      Payment

                                                        None


                       Total to be paid for prior chapter administrative expenses:              $              0.00
                       Remaining balance:                                                       $         12,572.54

              In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured) creditors.

            Allowed priority claims are:
  Claim       Claimant                             Allowed Amount           Interim Payments            Proposed
  No.                                                     of Claim                    to Date            Payment

                                                        None


                                                     Total to be paid for priority claims:      $              0.00
                                                     Remaining balance:                         $         12,572.54

             The actual distribution to wage claimants included above, if any, will be the proposed payment
      less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).
             Timely claims of general (unsecured) creditors totaling $522,224.62 have been allowed and will
      be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 4.4 percent, plus interest (if
      applicable).
            Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                             Allowed Amount           Interim Payments            Proposed
  No.                                                     of Claim                    to Date            Payment

  1           Georgia's Own Credit Union                   10,974.88                   215.25               264.20
  2           Wells Fargo Bank, N.A.                      435,753.49                 8,546.18             10,490.14
  3           BB&T-Bankruptcy                              60,596.06                 1,188.44              1,458.76
  4           Chase Bank USA,N.A                            1,293.25                    25.36                31.14
  5           Midland Funding LLC                           1,614.51                    31.66                38.87
  6           Fia Card Services, NA/Bank of                11,955.14                   234.47               287.80
              America
  7           BB&T-Bankruptcy                                  37.29                     0.00                  1.63
  8           Capital One, N.A.                                  0.00                    0.00                  0.00
                          Total to be paid for timely general unsecured claims:                 $       12,572.54
                          Remaining balance:                                                    $            0.00




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           Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
    paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
    have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
    applicable).
           Tardily filed general (unsecured) claims are as follows:
  Claim     Claimant                               Allowed Amount        Interim Payments                Proposed
  No.                                                     of Claim                 to Date                Payment

                                                        None


                        Total to be paid for tardily filed general unsecured claims:         $                 0.00
                        Remaining balance:                                                   $                 0.00

          Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
    subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
    allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
    subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).
          Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
    subordinated by the Court are as follows:
  Claim     Claimant                               Allowed Amount        Interim Payments                Proposed
  No.                                                     of Claim                 to Date                Payment

                                                        None


                                                 Total to be paid for subordinated claims: $                   0.00
                                                 Remaining balance:                        $                   0.00




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